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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,                             CRIMINAL ACTION
       v.
                                                      Case No. 11-cr-20132-11-KHV-DJW
KARINA SOTO-LOPEZ,

                        Defendant.


                                 MEMORANDUM AND ORDER

       On December 21, 2011, a grand jury charged Defendant Karina Soto-Lopez, as well as ten

other defendants, with theft of U.S. Department of Housing and Urban Development Section 8

Program housing rent subsidies, and making a false statement on an application for rent subsidies.1

This matter is before the Court on the United States’ oral motion for pretrial detention of Defendant

Karina Soto-Lopez (ECF No. 48) made on February 14, 2012. The Court held a detention hearing

on the motion on February 22, 2012. The Court has considered the motion and the statements of

counsel during the hearing, and, for the reasons set forth below, finds that the Motion should be

denied and Defendant should be released subject to certain conditions to be determined at a future

hearing.

I.     Standards for Detention

       Under the Bail Reform Act of 1984, the Court must order the pretrial release of the accused,

with or without conditions, unless it “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and



       1
           See Indictment (ECF No. 1), Counts 37-39, and 40.
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the community.”2 In making this determination, the Court must take into account the available

information concerning:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a violation of section 1591 [sex trafficking of
       children], a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

                (A) the person’s character, physical and mental condition, family ties,
                employment, financial resources, length of residence in the community,
                community ties, past conduct, history relating to drug or alcohol abuse,
                criminal history, and record concerning appearance at court proceedings; and

                (B) whether, at the time of the current offense or arrest, the person was on
                probation, on parole, or on other release pending trial, sentencing, appeal, or
                completion of sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release. 3

       The government has the burden to prove the risk of flight by a preponderance of the

evidence.4 The government must prove a danger to other persons or the community by clear and

convincing evidence.5 The court must resolve all doubts regarding the propriety of release in the

defendant’s favor.6




       2
        18 U.S.C. § 3142(e).
       3
        18 U.S.C. § 3142(g).
       4
        See U.S. v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (citations omitted).
       5
        See id. (citing 18 U.S.C. § 3142(f)).
       6
        U.S. v. Chavez-Rivas, 536 F. Supp. 2d 962, 965 (E.D. Wis. 2008).

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II.    Application of the Factors

       A.      Nature and Circumstances of the Offense

       Defendant is charged with three counts of theft of public money under 18 U.S.C. § 641, and

one count of making a false statement on a rent subsidy application under 18 U.S.C. § 1001. If

convicted of theft of public money, Defendant could face maximum penalties of not more than 10

years on each count. If convicted of making a false statement, Defendant could face imprisonment

of not more than 5 years.

       The government estimates the loss from Defendant’s alleged theft of public monies totals

$18,497. The government indicates that if, convicted, Defendant could expect a sentence range of

6 to 12 months. The nature of the alleged offenses is theft by fraud and did not involve the use of

violence, force, or weapons. Based upon the amount of monies involved, the probable penalty to

be imposed is not so great that Defendant would be expected to flee. Although the nature of the

offense may reflect a dishonest or deceitful character, the Court does not find these to be

determinative in themselves as showing Defendant to be a flight risk. The Court considers this

factor to weigh in favor of pretrial release.

       B.      Weight of the Evidence

       The Court finds that while the record contains some evidence that Defendant knowingly and

unlawfully made materially false statements and representations on an application for rent subsidy

benefits, and thereby unlawfully stole rent subsidy payments to which she was not qualified to

receive, the evidence is not so overwhelming that it must weigh in favor of detention. The

indictment itself constitutes probable cause to believe that the offenses charged have been committed

and that Defendant has committed them. This factor is neutral.


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        C.         History and Characteristics of Defendant

        Defendant is a 26-year old female, single citizen of Mexico. She came to the United States

18 years ago with her mother and oldest sister when she was only eight years old. She has never

returned to Mexico and does not want to return. Defendant has two children (ages 5 and 8), both

of which are U.S. citizens. She was married to a U.S. citizen who served in the U.S. military.

Defendant’s mother and three sisters lives in Mexico. Defendant has not seen her mother in four

years and only sees her mother when her mother visits here. Defendant and her two children

currently live with her boyfriend. She is currently employed part-time.

        Immigration and Customs Enforcement (“ICE”) has lodged a detainer against Defendant due

her illegal status. The government argues that Defendant is a risk of flight based upon the ICE

detainer. While a defendant’s status as a deportable alien alone does not mandate detention, it is a

factor which weighs heavily in the risk of flight analysis.7 As this Court has previously noted in the

companion cases of U.S. v. Lozano-Miranda,8and U.S. v. Garcia-Gallardo,9 the existence of the ICE

detainer is not in and of itself sufficient grounds to find that a defendant poses a flight risk. Under

8 C.F.R. § 215.2, “No alien shall depart, or attempt to depart, from the United States if his departure

would be prejudicial to the interests of the United States . . ..”10 The departure of an “alien who is

needed in the United States as . . . a party to[] any criminal case . . . pending in a court in the United




        7
         See Chavez-Rivas, 536 F. Supp. 2d at 964 n. 3 (citations omitted).
        8
         No. 09-cr-20005-KHV, 2009 WL 113407, at *3 n.13 (D. Kan. Jan. 15, 2009).
        9
         No. 09-cr-20005-KHV, 2009 WL 113412, at *2 n.13 (D. Kan. Jan. 15, 2009).
        10
             8 C.F.R. § 215.2(a).

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States” is deemed prejudicial to the interests of the United States.11 The departure of such a criminal

defendant alien may be temporarily prevented under 8 C.F.R. § 215.3, which provides that the

criminal defendant alien “may be permitted to depart from the United States with the consent of the

appropriate prosecuting authority, unless such alien is otherwise prohibited from departing under

the provisions of this part.”12

        The government also argues that Defendant should be detained because she had shown that

she can obtain fraudulent documents to establish a different identity. The Court finds that the

government has not carried its burden in this regard. While recognizing that there is some risk of

flight by Defendant due to the ICE detainer, the Court finds this risk is outweighed by Defendant’s

established family ties to the community, the ages of her children, and the 18 years she has lived in

the United States, the nature of the charges, and her lack of a prior criminal record. The Court

determines that there are conditions of release that could be set to reasonably assure Defendant’s

presence at trial. This factor weighs in favor of pretrial release.

        D.        Danger to the Community

        Defendant has one minor traffic violation from 2011. The United States has not shown that

Defendant poses any risk of danger to the community or other persons. Thus, the Court finds that

this factor weighs in favor of pretrial release.

III.    Conclusion

        Having considered all relevant pleadings and the statements of counsel during the February

22, 2012 hearing, the Court finds that Defendant should be released. As set out above, under the


        11
             8 C.F.R. § 215.3.
        12
             Id. (emphasis added).

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Bail Reform Act, the Court must order the pretrial release of Defendant, with or without conditions,

unless the Court “finds that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community . . ..”13

Based on the relevant pleadings and the statements of counsel during the hearing, the Court

concludes that the United States has not met its burden to show that no set of conditions of release

will assure Defendant’s pretrial presence and protect the community and other persons from danger.

       IT IS THEREFORE ORDERED that the United States’ oral motion for pretrial detention

of Defendant Karina Soto-Lopez (ECF No. 48) is denied. Defendant shall be released subsequent

to a hearing to determine the conditions of Defendant’s release.

       IT IS FURTHER ORDERED that a hearing to set the conditions of Defendant’s pretrial

release is set for February 29, 2012 at 10:00 a.m.

       IT IS FURTHER ORDERED that Pretrial Services shall provide proposed conditions of

release no later than February 27, 2012.

       IT IS SO ORDERED.

       Dated in Kansas City, Kansas on this 23rd day of February 2012.

                                                     s/ David J. Waxse
                                                     David J. Waxse
                                                     U.S. Magistrate Judge




       13
            18 U.S.C. § 3142(e).

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